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 7   MARLENE THOMPSON, D.D.S., Inc.
 8

 9                         UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11   BORREGO COMMUNITY                        )   CASE NO. 22-CV-1056 TWF NLS
     HEALTH FOUNDATION, a                     )
12   California nonprofit public benefit      )   ANSWER TO COMPLAINT AND
     corporation;                             )   DEMAND FOR JURY TRIAL BY
13                                            )   MARLENE THOMPSON, D.D.S.
           Plaintiff,                         )   AND MARLENE THOMPSON,
14                                            )   D.D.S., INC.
     vs.                                      )
15                                            )
     KAREN HEBETS, an individual;             )
16   MIKIA WALLIS, an individual;             )
     DIANA THOMPSON, f/k/a                    )
17   DIANA TRONCOSO, an                       )
     individual; HARRY ILSLEY, an             )
18   individual; DENNIS NOURSE,               )
     an individual; MIKE HICKOK,an            )
19   individual; CHUCK KIMBALL,               )
     an individual; PREMIRE                   )
20   HEALTHCARE                               )
     MANAGEMENT, INC., a                      )
21   California corporation; SUMMIT           )
     HEALTHCARE                               )
22   MANAGEMENT, INC., a                      )
     California corporation; DARYL            )
23   PRIEST, an individual;                   )
     NICHOLAS PRIEST, an                      )
24   individual; TRAVIS LYON, an              )
     individual; HUSAM E.                     )
25   ALDAIRI, D.D.S., an individual;          )
     ALDAIRI DDS, INC., a                     )
26   California corporation; AYED             )
     HAWATMEH D.D.S., an                      )
27   individual; HAWATMEH                     )
     DENTAL GROUP, P.C., a                    )
28   California corporation; ALBORZ           )
     MEHDIZADEH, D.D.S, an                    )
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                              DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
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 1   individual; ALBORZ                     )
     MEHDIZADEH, INC., a                    )
 2   California corporation; JILBERT        )
     BAKRAMIAN, D.D.S, an                   )
 3   individual; MOHAMMED                   )
     ALTEKREETI, D.D.S., an                 )
 4   individual; MAGALY                     )
     VELASQUEZ, D.D.S., an                  )
 5   individual; MAGALY M.                  )
     VELASQUEZ DDS                          )
 6   PROFESSIONAL DENTAL                    )
     CORP., a California corporation;       )
 7   ARAM ARAKELYAN, D.D.S.,                )
     an individual; NEW                     )
 8   MILLENNIUM DENTAL                      )
     GROUP OF ARAM                          )
 9   ARAKELYAN, INC., A                     )
     California corporation;                )
10   MICHAEL HOANG, D.M.D. an               )
     individual; WALEED STEPHAN,            )
11   D.D.S. an individual; W.A.             )
     STEPHAN, A DENTAL                      )
12   CORPORATION, a California              )
     corporation; SANTIAGO ROJO,            )
13   D.D.S., an individual;                 )
     SANTIAGO A. ROJO, D.D.S.,              )
14   INC., a California Corporation;        )
     MARCELO TOLEDO, D.D.S.,                )
15   an individual; MARCELO                 )
     TOLEDO, D.D.S., INC., a                )
16   California corporation;                )
     MARLENE THOMPSON,                      )
17   D.D.S., an individual;                 )
     MARLENE THOMPSON,                      )
18   D.D.S., INC. a California              )
     corporation; DOUGLAS NESS,             )
19   D.D.S., an individual, NESS            )
     DENTAL CORPORATION, a                  )
20   California corporation; GEORGE         )
     JARED, D.D.S., an individual;          )
21   GEORGE JARED, D.D.S., INC.,            )
     a California corporation; JAMES        )
22   HEBETS an individual; THE              )
     HEBETS COMPANY, a Missouri             )
23   Corporation; and DOES 1-250,           )
     inclusive.                             )
24                                          )
           Defendants.                      )
25                                          )
26         COMES NOW Defendants MARLENE THOMPSON, D.D.S. and MARLENE
27   THOMPSON, D.D.S. INC’S (hereinafter referred to as “Defendants”, in answer to the
28   unverified Complaint by Plaintiff BORREGO COMMUNITY HEALTH

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 1   FOUNDATION (hereinafter referred to as “Plaintiff”) on the file herein, for
 2   themselves and for no other admit, deny, and allege as follows:
 3     1. ADMIT.
 4     2. Paragraph 2 is argumentative and legal conjecture without a specific factual
 5   basis; therefore, no response is required. To the extent the court requires a response,
 6   Defendants deny the allegations set forth in Paragraph 2 of the Complaint.
 7     3. Paragraph 3 is argumentative and legal conjecture without a specific factual
 8   basis; therefore, no response is required. To the extent the court requires a response,
 9   Defendants deny the allegations set forth in Paragraph 3 of the Complaint.
10     4. Admit in part, deny in part. Defendants admit that the government is
11   investigating Plaintiff. The remainder of the paragraph is argumentative, conjecture,
12   and states legal conclusions and therefore a response is not required. To the extent
13   that the court requires a response, Defendants deny the allegations set forth in
14   Paragraph 4 of the Complaint.
15     5. Paragraph 5 is argumentative and legal conjecture without a specific factual
16   basis; therefore, no response is required. To the extent the court requires a response,
17   Defendants deny the allegations set forth in Paragraph 5 of the Complaint.
18     6. Paragraph 6 is argumentative and legal conjecture without a specific factual
19   basis; therefore, no response is required. To the extent the court requires a response,
20   Defendants deny the allegations set forth in Paragraph 6 of the Complaint.
21     7. Defendants admit that this Court has jurisdiction over federal claims and
22   supplemental jurisdiction over State claims arising from the same alleged factual
23   basis. Defendants admit that venue is proper. Defendants deny the remainder of
24   Paragraph 7.
25     8. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 8.
27     9. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 9.

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 1     10. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 10.
 3     11. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 11.
 5     12. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 12.
 7     13. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 13.
 9     14. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 14.
11     15. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 15.
13     16. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 16.
15     17. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 17.
17     18. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 18.
19     19. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 19.
21     20. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 20.
23     21. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 21.
25     22. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 22.
27     23. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 23.

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 1     24. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 24.
 3     25. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 25.
 5     26. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 26.
 7     27. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 27.
 9     28. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 28.
11     29. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 29.
13     30. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 30.
15     31. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 31.
17     32. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 32.
19     33. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 33.
21     34. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 34.
23     35. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 35.
25     36. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 36.
27     37. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 37.

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 1     38. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 38.
 3     39. Admit in part, deny in part. Defendants admit that Marlene Thompson, D.D.S.
 4   is a licensed dentist in California. Defendants admit the location of the practice.
 5   Defendants admit the location of the principal place of business. Defendants deny the
 6   remainder of the allegations set forth in Paragraph 39.
 7     40. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 40.
 9     41. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 41.
11     42. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 42.
13     43. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 43.
15     44. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 44.
17     45. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 45.
19     46. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 46.
21     47. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 47.
23     48. DENIED. This averment is a legal conclusion and/or argument and therefore
24   does not require a response. To the extent that it requires a response, Defendants
25   DENY.
26     49. Defendants are without knowledge or information sufficient to form a belief as
27   to this averment, and therefore deny each and every allegation in Paragraph 49.
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 1     50. DENIED. This averment is a legal conclusion and/or argument and therefore
 2   does not require a response. To the extent that it requires a response, Defendants
 3   DENY.
 4     51. Defendants are without knowledge or information sufficient to form a belief as
 5   to this averment, and therefore deny each and every allegation in Paragraph 51.
 6     52. DENIED. This averment is a legal conclusion and/or argument and therefore
 7   does not require a response. To the extent that it requires a response, Defendants
 8   DENY.
 9     53. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 53.
11     54. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 54.
13     55. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 55.
15     56. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 56.
17     57. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 57.
19     58. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 58.
21     59. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 59.
23     60. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 60.
25     61. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 61.
27     62. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 62.

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 1     63. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 63.
 3     64. DENIED.
 4     65. DENIED. This averment is a legal conclusion and/or argument and therefore
 5   does not require a response. To the extent that it requires a response, Defendants
 6   DENY.
 7     66. DENIED. This averment is a legal conclusion and/or argument and therefore
 8   does not require a response. To the extent that it requires a response, Defendants
 9   DENY.
10     67. Admit in part, deny in part. Defendants admit that the billing is known as
11   “encounter” billing. Defendants deny the remaining averments in Paragraph 67.
12     68. Defendants are without knowledge or information sufficient to form a belief as
13   to this averment, and therefore deny each and every allegation in Paragraph 68.
14     69. Defendants are without knowledge or information sufficient to form a belief as
15   to this averment, and therefore deny each and every allegation in Paragraph 69.
16     70. Defendants are without knowledge or information sufficient to form a belief as
17   to this averment, and therefore deny each and every allegation in Paragraph 70.
18     71. Defendants are without knowledge or information sufficient to form a belief as
19   to this averment, and therefore deny each and every allegation in Paragraph 71.
20     72. Defendants are without knowledge or information sufficient to form a belief as
21   to this averment, and therefore deny each and every allegation in Paragraph 72.
22     73. Defendants are without knowledge or information sufficient to form a belief as
23   to this averment, and therefore deny each and every allegation in Paragraph 73.
24     74. Defendants are without knowledge or information sufficient to form a belief as
25   to this averment, and therefore deny each and every allegation in Paragraph 74.
26     75. Defendants are without knowledge or information sufficient to form a belief as
27   to this averment, and therefore deny each and every allegation in Paragraph 75.
28   ///

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 1     76. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 76.
 3     77. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 77.
 5     78. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 78.
 7     79. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 79.
 9     80. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 80.
11     81. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 81.
13     82. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 82.
15     83. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 83.
17     84. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 84.
19     85. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 85.
21     86. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 86.
23     87. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 87.
25     88. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 88.
27     89. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 89.

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 1     90. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 90.
 3     91. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 91.
 5     92. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 92.
 7     93. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 93.
 9     94. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 94.
11     95. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 95.
13     96. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 96.
15     97. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 97.
17     98. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 98.
19     99. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 99.
21     100.Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 100.
23     101. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 101.
25     102. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 102.
27     103. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 103.

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 1     104. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 104.
 3     105. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 105.
 5     106. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 106.
 7     107. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 107.
 9     108. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 108.
11     109. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 109.
13     110. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 110.
15     111. DENIED. This averment is a legal conclusion and/or argument and therefore
16   does not require a response. To the extent that it requires a response, Defendants
17   DENY.
18     112. Defendants are without knowledge or information sufficient to form a belief as
19   to this averment, and therefore deny each and every allegation in Paragraph 112.
20     113. Defendants are without knowledge or information sufficient to form a belief as
21   to this averment, and therefore deny each and every allegation in Paragraph 113.
22     114. DENIED. This averment is a legal conclusion and/or argument and therefore
23   does not require a response. To the extent that it requires a response, Defendants
24   DENY.
25     115. DENIED. This averment is a legal conclusion and/or argument and therefore
26   does not require a response. To the extent that it requires a response, Defendants
27   DENY.
28   ///

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 1     116. DENIED. This averment is a legal conclusion and/or argument and therefore
 2   does not require a response. To the extent that it requires a response, Defendants
 3   DENY.
 4     117. DENIED. This averment is a legal conclusion and/or argument and therefore
 5   does not require a response. To the extent that it requires a response, Defendants
 6   DENY.
 7     118. DENIED. This averment is a legal conclusion and/or argument and therefore
 8   does not require a response. To the extent that it requires a response, Defendants
 9   DENY.
10     119. Defendants are without knowledge or information sufficient to form a belief as
11   to this averment, and therefore deny each and every allegation in Paragraph 119.
12     120. Defendants are without knowledge or information sufficient to form a belief as
13   to this averment, and therefore deny each and every allegation in Paragraph 120.
14     121. Defendants are without knowledge or information sufficient to form a belief as
15   to this averment, and therefore deny each and every allegation in Paragraph 121.
16     122. Defendants are without knowledge or information sufficient to form a belief as
17   to this averment, and therefore deny each and every allegation in Paragraph 122.
18     123. Defendants are without knowledge or information sufficient to form a belief as
19   to this averment, and therefore deny each and every allegation in Paragraph 123.
20     124. Defendants are without knowledge or information sufficient to form a belief as
21   to this averment, and therefore deny each and every allegation in Paragraph 124.
22     125. Defendants are without knowledge or information sufficient to form a belief as
23   to this averment, and therefore deny each and every allegation in Paragraph 125.
24     126. Defendants are without knowledge or information sufficient to form a belief as
25   to this averment, and therefore deny each and every allegation in Paragraph 126.
26     127. Defendants are without knowledge or information sufficient to form a belief as
27   to this averment, and therefore deny each and every allegation in Paragraph 127.
28   ///

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 1     128. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 128.
 3     129. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 129.
 5     130. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 130.
 7     131. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 131.
 9     132. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 132.
11     133. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 133.
13     134. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 134.
15     135. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 135.
17     136. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 136.
19     137. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 137.
21     138. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 138.
23     139. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 139.
25     140. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 140.
27     141. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 141.

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 1     142. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 142.
 3     143. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 143.
 5     144. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 144.
 7     145. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 145.
 9     146. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 146.
11     147. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 147.
13     148. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 148.
15     149. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 149.
17     150.Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 150.
19     151.Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 151.
21     152. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 152.
23     153. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 153.
25     154. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 154.
27     155. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 155.

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 1     156. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 156.
 3     157. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 157.
 5     158. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 158.
 7     159. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 159.
 9     160. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 160.
11     161. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 161.
13     162. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 162.
15     163. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 163.
17     164. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 164.
19     165. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 165.
21     166. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 166.
23     167. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 167.
25     168. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 168.
27     169. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 160.

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 1     170. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 170.
 3     171. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 171.
 5     172. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 172.
 7     173. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 173.
 9     174. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 174.
11     175. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 175.
13     176. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 176.
15     177. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 177.
17     178. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 178.
19     179. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 179.
21     180. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 180.
23     181. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 181.
25     182. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 182.
27     183. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 183.

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 1     184. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 184.
 3     185. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 185.
 5     186. ADMIT.
 6     187. Paragraph 187 of the Complaint purports to restate portions of “The
 7   Thompson Agreement.” The agreement speaks for itself. To the extent that
 8   Paragraph 187 is inconsistent with the text and meaning of the agreement, Defendants
 9   Deny.
10     188. DENIED. This averment and each and all of its subparts is overly broad and a
11   legal conclusion and/or argument and therefore does not require a response. To the
12   extent that it requires a response, Defendants DENY.
13     189.Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 189.
15     190.Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 190.
17     191.Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 191.
19     192.Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 192.
21     193. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 193.
23     194. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 194.
25     195. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 195.
27     196. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 196.

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 1     197. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 197.
 3     198. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 198.
 5     199. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 199.
 7     200. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 200.
 9     201. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 201.
11     202. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 202.
13     203. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 203.
15     204. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 204.
17     205. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 205.
19     206. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 206.
21     207. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 207.
23     208. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 208.
25     209. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 209.
27     210. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 210.

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 1     211. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 211.
 3     212. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 212.
 5     213. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 213.
 7     214. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 214.
 9     215. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 215.
11     216. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 216.
13     217. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 217.
15     218. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 218.
17     219. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 219.
19     220. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 220.
21     221. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 221.
23     222. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 222.
25     223. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 223.
27     224. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 224.

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 1     225. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 225.
 3     226. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 226.
 5     227. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 227.
 7     228. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 228.
 9     229. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 229.
11     230. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 230.
13     231. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 231.
15     232. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 232.
17     233. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 233.
19     234. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 234.
21     235. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 235.
23     236. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 236.
25     237. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 237.
27     238. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 238.

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 1     239. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 239.
 3     240. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 240.
 5     241. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 241.
 7     242. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 242.
 9     243. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 243.
11     244. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 244.
13     245. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 245.
15     246. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 246.
17     247. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 247.
19     248. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 248.
21     249. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 249.
23     250. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 250.
25     251. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 251.
27     252. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 252.

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 1     253. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 253.
 3     254. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 254.
 5     255. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 255.
 7     256. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 256.
 9     257. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 257.
11     258. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 258.
13     259. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 259.
15     260. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 260.
17     261. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 261.
19     262. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 262.
21     263. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 263.
23     264. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 264.
25     265. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 265.
27   ///
28   ///

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 1     266. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 266.
 3     267. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 267.
 5     268. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 268.
 7     269. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 269.
 9     270. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 270.
11     271. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 271.
13     272. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 272.
15     273. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 273.
17     274. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 274.
19     275. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 275.
21     276. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 276.
23     277. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 277.
25     278. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 278.
27     279. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 279.

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 1     280. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 280.
 3     281. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 281.
 5     282. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 282.
 7     283. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 283.
 9     284. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 284.
11     285. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 285.
13     286. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 286.
15     287. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 287.
17     288. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 288.
19     289. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 289.
21     290. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 290.
23     291. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 291.
25     292. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 292.
27     293. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 293.

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 1     294. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 294.
 3     295. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 295.
 5     296. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 296.
 7     297. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 297.
 9     298. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 298.
11     299. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 299.
13     300. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 300.
15     301. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 301.
17     302. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 302.
19     303. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 303.
21     304. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 304.
23     305. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 305.
25     306. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 306.
27     307. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 307.

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 1     308. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 308.
 3     309. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 309.
 5     310. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 310.
 7     311. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 311.
 9     312. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 312.
11     313. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 313.
13     314. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 314.
15     315. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 315.
17     316. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 316.
19     317. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 317.
21     318. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 318.
23     319. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 319.
25     320. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 320.
27     321. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 321.

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 1     322. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 322.
 3     323. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 323.
 5     324. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 324.
 7     325. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 325.
 9     326. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 326.
11     327. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 327.
13     328. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 328.
15     329. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 329.
17     330. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 330.
19     331. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 331.
21     332. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 332.
23     333. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 333.
25     334. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 334.
27     335. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 335.

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 1     336. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 336.
 3     337. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 337.
 5     338. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 338.
 7     339. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 339.
 9     340. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 340.
11     341. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 341.
13     342. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 342.
15     343. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 343.
17     344. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 344.
19     345. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 345.
21     346. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 346.
23     347. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 347.
25     348. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 348.
27     349. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 349.

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 1     350. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 350.
 3     351. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 351.
 5     352. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 352.
 7     353. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 353.
 9     354. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 354.
11     355. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 355.
13     356. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 356.
15     357. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 357.
17     358. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 358.
19     359. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 359.
21     360. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 360.
23     361. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 361.
25     362. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 362.
27     363. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 363.

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 1     364. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 364.
 3     365. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 365.
 5     366. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 366.
 7     367. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 367.
 9     368. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 368.
11     369. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 369.
13     370. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 370.
15     371. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 371.
17     372. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 372.
19     373. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 373.
21     374. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 374.
23     375. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 375.
25     376. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 376.
27     377. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 377.

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 1     378. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 378.
 3     379. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 379.
 5     380. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 380.
 7     381. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 381.
 9     382. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 382.
11     383. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 383.
13     384. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 384.
15     385. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 385.
17     386. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 386.
19     387. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 387.
21     388. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 388.
23     389. DENIED.
24     390. Defendants are without knowledge or information sufficient to form a belief as
25   to this averment, and therefore deny each and every allegation in Paragraph 390.
26     391. Defendants are without knowledge or information sufficient to form a belief as
27   to this averment, and therefore deny each and every allegation in Paragraph 392.
28   ///

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 1     392. DENIED. This averment is overly broad and a legal conclusion and/or
 2   argument and therefore does not require a response. To the extent that it requires a
 3   response, Defendants DENY.
 4     393. Defendants are without knowledge or information sufficient to form a belief as
 5   to this averment, and therefore deny each and every allegation in Paragraph 393.
 6     394. Defendants are without knowledge or information sufficient to form a belief as
 7   to this averment, and therefore deny each and every allegation in Paragraph 394.
 8     395. Defendants are without knowledge or information sufficient to form a belief as
 9   to this averment, and therefore deny each and every allegation in Paragraph 395.
10     396. Defendants are without knowledge or information sufficient to form a belief as
11   to this averment, and therefore deny each and every allegation in Paragraph 396.
12     397. Defendants are without knowledge or information sufficient to form a belief as
13   to this averment, and therefore deny each and every allegation in Paragraph 397.
14     398. Defendants are without knowledge or information sufficient to form a belief as
15   to this averment, and therefore deny each and every allegation in Paragraph 398.
16     399. Defendants are without knowledge or information sufficient to form a belief as
17   to this averment, and therefore deny each and every allegation in Paragraph 399.
18     400. Defendants are without knowledge or information sufficient to form a belief as
19   to this averment, and therefore deny each and every allegation in Paragraph 400.
20     401. DENIED. This averment is overly broad and a legal conclusion and/or
21   argument and therefore does not require a response. To the extent that it requires a
22   response, Defendants DENY.
23     402. DENIED. This averment is overly broad and a legal conclusion and/or
24   argument and therefore does not require a response. To the extent that it requires a
25   response, Defendants DENY.
26     403. DENIED. This averment is overly broad and a legal conclusion and/or
27   argument and therefore does not require a response. To the extent that it requires a
28   response, Defendants DENY.

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 1     404. DENIED. This averment is overly broad and a legal conclusion and/or
 2   argument and therefore does not require a response. To the extent that it requires a
 3   response, Defendants DENY.
 4     405. DENIED. This averment is overly broad and a legal conclusion and/or
 5   argument and therefore does not require a response. To the extent that it requires a
 6   response, Defendants DENY.
 7     406. DENIED. This averment is overly broad and a legal conclusion and/or
 8   argument and therefore does not require a response. To the extent that it requires a
 9   response, Defendants DENY.
10     407. DENIED. This averment is overly broad and a legal conclusion and/or
11   argument and therefore does not require a response. To the extent that it requires a
12   response, Defendants DENY.
13     408. DENIED. This averment is overly broad and a legal conclusion and/or
14   argument and therefore does not require a response. To the extent that it requires a
15   response, Defendants DENY.
16     409. Defendants are without knowledge or information sufficient to form a belief as
17   to this averment, and therefore deny each and every allegation in Paragraph 409.
18     410. Defendants are without knowledge or information sufficient to form a belief as
19   to this averment, and therefore deny each and every allegation in Paragraph 410.
20     411. Defendants are without knowledge or information sufficient to form a belief as
21   to this averment, and therefore deny each and every allegation in Paragraph 411.
22     412. Defendants are without knowledge or information sufficient to form a belief as
23   to this averment, and therefore deny each and every allegation in Paragraph 412.
24     413. Defendants are without knowledge or information sufficient to form a belief as
25   to this averment, and therefore deny each and every allegation in Paragraph 413.
26     414. Paragraph 414 of the Complaint proports to restate portions of 18 U.S.C.
27   §1961(1)(B) and 18 U.S.C. §1957. The statutes speak for themselves. To the extent
28

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 1   Paragraph 414 is inconsistent with the text and meaning of the statute the Defendants
 2   DENY.
 3     415. Paragraph 415 of the Complaint proports to restate portions of 18 U.S.C.
 4   §1956. The statute speaks for itself. To the extent Paragraph 415 is inconsistent with
 5   the text and meaning of the statute the Defendants DENY.
 6     416. Paragraph 416 of the Complaint proports to restate portions of 18 U.S.C. §669.
 7   The statute speaks for itself. To the extent Paragraph 416 is inconsistent with the text
 8   and meaning of the statute the Defendants DENY. Additionally, the remainder of the
 9   averment in Paragraph 416 is argumentative and legal conjecture; therefore, no
10   response is required. To the extent that it requires a response, Defendants are without
11   knowledge or information sufficient to form a belief as to this averment, and therefore
12   deny each and every allegation in Paragraph 416 of the Complaint.
13     417. Paragraph 417 of the Complaint proports to restate portions of 18 U.S.C.
14   §1347. The statute speaks for itself. To the extent Paragraph 417 is inconsistent with
15   the text and meaning of the statute the Defendants DENY. Additionally, the
16   remainder of the averment in Paragraph 417 is argumentative and legal conjecture;
17   therefore, no response is required. To the extent that it requires a response, Defendants
18   are without knowledge or information sufficient to form a belief as to this averment,
19   and therefore deny each and every allegation in Paragraph 417 of the Complaint.
20     418. Paragraph 418 of the Complaint proports to restate portions of 18 U.S.C.
21   §1001. The statute speaks for itself. To the extent Paragraph 418 is inconsistent with
22   the text and meaning of the statute the Defendants DENY. Additionally, the
23   remainder of the averment in Paragraph 418 is argumentative and legal conjecture;
24   therefore, no response is required. To the extent that it requires a response, Defendants
25   are without knowledge or information sufficient to form a belief as to this averment,
26   and therefore deny each and every allegation in Paragraph 418 of the Complaint.
27   ///

28   ///

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 1     419. Paragraph 419 of the Complaint proports to restate various portions of the
 2   U.S.C. The statutes speak for themselves. To the extent Paragraph 419 is inconsistent
 3   with the text and meaning of the statute the Defendants DENY.
 4     420. Paragraph 420 is argumentative and legal conjecture without a specific factual
 5   basis; therefore, no response is required. To the extent the court requires a response,
 6   Defendants deny the allegations set forth in Paragraph 420 of the Complaint.
 7     421. DENIED. This averment is overly broad and a legal conclusion and/or
 8   argument and therefore does not require a response. To the extent that it requires a
 9   response, Defendants DENY.
10     422. DENIED. This averment is overly broad and a legal conclusion and/or
11   argument and therefore does not require a response. To the extent that it requires a
12   response, Defendants DENY.
13     423. DENIED. This averment is overly broad and a legal conclusion and/or
14   argument and therefore does not require a response. To the extent that it requires a
15   response, Defendants DENY.
16     424. DENIED. This averment is overly broad and a legal conclusion and/or
17   argument and therefore does not require a response. To the extent that it requires a
18   response, Defendants DENY.
19     425. DENIED. This averment is overly broad and a legal conclusion and/or
20   argument and therefore does not require a response. To the extent that it requires a
21   response, Defendants DENY.
22     426. DENIED. This averment is overly broad and a legal conclusion and/or
23   argument and therefore does not require a response. To the extent that it requires a
24   response, Defendants DENY.
25     427. DENIED. This averment is overly broad and a legal conclusion and/or
26   argument and therefore does not require a response. To the extent that it requires a
27   response, Defendants DENY.
28   ///

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 1     428. DENIED. This averment is overly broad and a legal conclusion and/or
 2   argument and therefore does not require a response. To the extent that it requires a
 3   response, Defendants DENY.
 4     429. DENIED. This averment is overly broad and a legal conclusion and/or
 5   argument and therefore does not require a response. To the extent that it requires a
 6   response, Defendants DENY.
 7     430. DENIED. This averment is overly broad and a legal conclusion and/or
 8   argument and therefore does not require a response. To the extent that it requires a
 9   response, Defendants DENY.
10     431. DENIED. This averment is overly broad and a legal conclusion and/or
11   argument and therefore does not require a response. To the extent that it requires a
12   response, Defendants DENY.
13     432. DENIED. This averment is overly broad and a legal conclusion and/or
14   argument and therefore does not require a response. To the extent that it requires a
15   response, Defendants DENY.
16     433. DENIED. This averment is overly broad and a legal conclusion and/or
17   argument and therefore does not require a response. To the extent that it requires a
18   response, Defendants DENY.
19                               FIRST CAUSE OF ACTION
20                  (Violations under the Racketeer Influenced and Corrupt
21
                                 Organizations (“RICO”) Act)

22     434. Defendants are without knowledge or information sufficient to form a belief as
23   to this averment, and therefore deny each and every allegation in Paragraph 434.
24     435. This averment is a legal conclusion and/or argument and therefore does not
25   require a response. To the extent that it requires a response, Defendants are without
26   knowledge or information sufficient to form a belief as to this averment, and therefore
27   deny each and every allegation in Paragraph 435.
28   ///

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 1     436. This averment is a legal conclusion and/or argument and therefore does not
 2   require a response. To the extent that it requires a response, Defendants are without
 3   knowledge or information sufficient to form a belief as to this averment, and therefore
 4   deny each and every allegation in Paragraph 436.
 5                             SECOND CAUSE OF ACTION
 6                                     (Breach of Contract)
 7     437. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 437.
 9     438. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 438.
11     439. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 439.
13     440. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 440.
15     441. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 441.
17                              THIRD CAUSE OF ACTION
18                                     (Breach of Contract)
19     442. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 442.
21     443. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 443.
23     444. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 444.
25     445. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 445.
27   ///
28   ///

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 1     446. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 446.
 3                            FOURTH CAUSE OF ACTION
 4                                     (Breach of Contract)
 5     447. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 447.
 7     448. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 448.
 9     449. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 449.
11     450. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 450.
13     451. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 451.
15                              FIFTH CAUSE OF ACTION
16                                     (Breach of Contract)
17     452. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 452.
19     453. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 453.
21     454. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 454.
23     455. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 455.
25     456. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 456.
27   ///
28   ///

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 1                              SIXTH CAUSE OF ACTION
 2                                     (Breach of Contract)
 3     457. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 457.
 5     458. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 458.
 7     459. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 459.
 9     460. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 460.
11     461. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 461.
13                            SEVENTH CAUSE OF ACTION
14                                     (Breach of Contract)
15     462. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 462.
17     463. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 463.
19     464. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 464.
21     465. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 465.
23     466. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 466.
25                             EIGHTH CAUSE OF ACTION
26                                     (Breach of Contract)
27     467. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 467.

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 1     468. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 468.
 3     469. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 469.
 5     470. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 470.
 7     471. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 471.
 9                              NINTH CAUSE OF ACTION
10                                     (Breach of Contract)
11     472. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 472.
13     473. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 473.
15     474. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 474.
17     475. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 475.
19     476. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 476.
21                              TENTH CAUSE OF ACTION
22                                     (Breach of Contract)
23     477. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 477.
25     478. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 478.
27     479. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 479.

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 1     480. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 480.
 3     481. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 481.
 5                            ELEVENTH CAUSE OF ACTION
 6                                     (Breach of Contract)
 7     482. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 482.
 9     483. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 483.
11     484. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 484.
13     485. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 485.
15     486. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 486.
17                            TWELFTH CAUSE OF ACTION
18                                     (Breach of Contract)
19     487. This averment is a legal conclusion and/or argument and therefore does not
20   require a response. To the extent that it requires a response, Defendants are without
21   knowledge or information sufficient to form a belief as to this averment, and therefore
22   deny each and every allegation in Paragraph 487.
23     488. This averment is a legal conclusion and/or argument and therefore does not
24   require a response. To the extent that it requires a response, Defendants are without
25   knowledge or information sufficient to form a belief as to this averment, and therefore
26   deny each and every allegation in Paragraph 488.
27     489. This averment is a legal conclusion and/or argument and therefore does not
28   require a response. To the extent that it requires a response, Defendants are without

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 1   knowledge or information sufficient to form a belief as to this averment, and therefore
 2   deny each and every allegation in Paragraph 489.
 3     490. This averment is a legal conclusion and/or argument and therefore does not
 4   require a response. To the extent that it requires a response, Defendants are without
 5   knowledge or information sufficient to form a belief as to this averment, and therefore
 6   deny each and every allegation in Paragraph 490.
 7     491. This averment is a legal conclusion and/or argument and therefore does not
 8   require a response. To the extent that it requires a response, Defendants are without
 9   knowledge or information sufficient to form a belief as to this averment, and therefore
10   deny each and every allegation in Paragraph 491.
11                          THIRTEENTH CAUSE OF ACTION
12                                     (Breach of Contract)
13     492. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 492.
15     493. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 493.
17     494. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 494.
19     495. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 495.
21     496. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 496.
23                          FOURTEENTH CAUSE OF ACTION
24                                     (Breach of Contract)
25     497. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 497.
27     498. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 498.

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 1     499. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 499.
 3     500. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 500.
 5     501. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 501.
 7                           FIFTEENTH CAUSE OF ACTION
 8                              (Intentional Misrepresentation)
 9     502. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 502.
11     503. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 503.
13     504. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 504.
15     505. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 505.
17     506. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 506.
19     507. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 507.
21                           SIXTEENTH CAUSE OF ACTION
22                              (Intentional Misrepresentation)
23     508. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 508.
25     509. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 509.
27     510. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 510.

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 1     511. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 511.
 3     512. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 512.
 5     513. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 513.
 7                        SEVENTEENTH CAUSE OF ACTION
 8                              (Intentional Misrepresentation)
 9     514. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 514.
11     515. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 515.
13     516. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 516.
15     517. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 517.
17     518. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 518.
19     519. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 519.
21                         EIGHTEENTH CAUSE OF ACTION
22                              (Intentional Misrepresentation)
23     520. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 520.
25     521. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 521.
27     522. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 522.

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 1     523. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 523.
 3     524. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 524.
 5     525. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 525.
 7                         NINETEENTH CAUSE OF ACTION
 8                              (Intentional Misrepresentation)
 9     526. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 526.
11     527. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 527.
13     528. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 528.
15     529. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 529.
17     530. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 530.
19     531. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 531.
21                          TWENTIETH CAUSE OF ACTION
22                              (Intentional Misrepresentation)
23     532. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 532.
25     533. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 533.
27     534. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 534.

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 1     535. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 535.
 3     536. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 536.
 5     537. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 537.
 7                        TWENTY-FIRST CAUSE OF ACTION
 8                              (Intentional Misrepresentation)
 9     538. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 538.
11     539. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 539.
13     540. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 540.
15     541.Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 541.
17     542. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 542.
19     543. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 543.
21                       TWENTY-SECOND CAUSE OF ACTION
22                              (Intentional Misrepresentation)
23     544. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 544.
25     545. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 545.
27     546. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 546.

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 1     547. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 547.
 3     548. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 548.
 5     549. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 549.
 7                        TWENTY-THIRD CAUSE OF ACTION
 8                              (Intentional Misrepresentation)
 9     550. Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 550.
11     551. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 551.
13     552. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 552.
15     553. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 553.
17     554. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 554.
19     555. Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 555.
21                       TWENTY-FOURTH CAUSE OF ACTION
22                              (Intentional Misrepresentation)
23     556. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 556.
25     557. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 557.
27     558. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 558.

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 1     559. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 559.
 3     560. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 560.
 5     561. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 561.
 7                         TWENTY-FIFTH CAUSE OF ACTION
 8                               (Intentional Misrepresentation)
 9     562. This averment is overly broad and a legal conclusion and/or argument and
10   therefore does not require a response. To the extent that it requires a response,
11   Defendants DENY.
12     563. This averment is overly broad and a legal conclusion and/or argument and
13   therefore does not require a response. To the extent that it requires a response,
14   Defendants DENY.
15     564. This averment is overly broad and a legal conclusion and/or argument and
16   therefore does not require a response. To the extent that it requires a response,
17   Defendants DENY.
18     565. This averment is overly broad and a legal conclusion and/or argument and
19   therefore does not require a response. To the extent that it requires a response,
20   Defendants DENY.
21     566. This averment is overly broad and a legal conclusion and/or argument and
22   therefore does not require a response. To the extent that it requires a response,
23   Defendants DENY.
24                         TWENTY-SIXTH CAUSE OF ACTION
25                               (Intentional Misrepresentation)
26     567.Defendants are without knowledge or information sufficient to form a belief as
27   to this averment, and therefore deny each and every allegation in Paragraph 567.
28   ///

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 1     568.Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 568.
 3     569.Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 569.
 5     570.Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 570.
 7     571.Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 571.
 9                         TWENTY-SEVENTH CAUSE OF ACTION
10                              (Intentional Misrepresentation)
11     572.Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 572.
13     573.Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 573.
15     574.Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 574.
17     575.Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 575.
19     576.Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 576.
21                       TWENTY-EIGHTH CAUSE OF ACTION
22                              (Intentional Misrepresentation)
23     577.Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 577.
25     578.Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 578.
27     579.Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 579.

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 1     580.Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 580.
 3     581.Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 581.
 5     582.Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 582.
 7     583.Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 583.
 9                        TWENTY-NINTH CAUSE OF ACTION
10                               (Negligent Misrepresentation)
11     584.Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 584.
13     585.Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 585.
15     586.Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 586.
17     587.Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 587.
19     588.Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 588.
21     589.Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 589.
23     590.Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 590.
25     591.Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 591.
27   ///
28   ///

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 1                           THIRTIETH CAUSE OF ACTION
 2                               (Negligent Misrepresentation)
 3     592.Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 592.
 5     593.Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 593.
 7     594.Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 594.
 9     595.Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 595.
11     596.Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 596.
13     597.Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 597.
15     598.Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 598.
17     599.Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 599.
19                         THIRTY-FIRST CAUSE OF ACTION
20     600.Defendants are without knowledge or information sufficient to form a belief as
21   to this averment, and therefore deny each and every allegation in Paragraph 600.
22     601.Defendants are without knowledge or information sufficient to form a belief as
23   to this averment, and therefore deny each and every allegation in Paragraph 601.
24     602.Defendants are without knowledge or information sufficient to form a belief as
25   to this averment, and therefore deny each and every allegation in Paragraph 602.
26     603.Defendants are without knowledge or information sufficient to form a belief as
27   to this averment, and therefore deny each and every allegation in Paragraph 603.
28   ///

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 1     604.Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 604.
 3     605.Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 605.
 5     606.Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 606.
 7     607.Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 607.
 9                       THIRTY-SECOND CAUSE OF ACTION
10                               (Negligent Misrepresentation)
11     608.Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 608.
13     609.Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 609.
15     610.Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 610.
17     611.Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 611.
19     612.Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 612.
21     613.Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 613.
23     614.Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 614.
25     615.Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 615.
27   ///
28   ///

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 1                        THIRTY-THIRD CAUSE OF ACTION
 2                               (Negligent Misrepresentation)
 3     616.Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 616.
 5     617.Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 617.
 7     618.Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 618.
 9     619.Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 619.
11     620.Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 620.
13     621.Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 621.
15     622.Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 622.
17     623.Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 623.
19                       THIRTY-FOURTH CAUSE OF ACTION
20                               (Negligent Misrepresentation)
21     624.Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 624.
23     625.Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 625.
25     626.Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 626.
27     627.Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 627.

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 1     628.Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 628.
 3     629.Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 629.
 5     630.Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 630.
 7     631.Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 631.
 9                         THIRTY-FIFTH CAUSE OF ACTION
10                               (Negligent Misrepresentation)
11     632.Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 632.
13     633.Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 633.
15     634.Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 634.
17     635.Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 635.
19     636.Defendants are without knowledge or information sufficient to form a belief as
20   to this averment, and therefore deny each and every allegation in Paragraph 636.
21     637.Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 636.
23     638.Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 638.
25     639.Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 639.
27   ///
28   ///

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 1                         THIRTY-SIXTH CAUSE OF ACTION
 2                               (Negligent Misrepresentation)
 3     640.Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 640.
 5     641.Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 641.
 7     642.Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 642.
 9     643.Defendants are without knowledge or information sufficient to form a belief as
10   to this averment, and therefore deny each and every allegation in Paragraph 643.
11     644.Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 644.
13     645.Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 645.
15     646.Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 646.
17     647.Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 647.
19                       THIRTY-SEVENTH CAUSE OF ACTION
20                               (Negligent Misrepresentation)
21     648.Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 648.
23     649.Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 649.
25     650.Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 650.
27     651.Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 651.

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 1     652.Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 652.
 3     653.Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 653.
 5     654.Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 654.
 7     655.Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 655.
 9                        THIRTY-EIGHTH CAUSE OF ACTION
10                               (Negligent Misrepresentation)
11     656.DENIED. This averment is overly broad and a legal conclusion and/or
12   argument and therefore does not require a response. To the extent that it requires a
13   response, Defendants DENY.
14     657.DENIED. This averment is overly broad and a legal conclusion and/or
15   argument and therefore does not require a response. To the extent that it requires a
16   response, Defendants DENY.
17     658.DENIED. This averment is overly broad and a legal conclusion and/or
18   argument and therefore does not require a response. To the extent that it requires a
19   response, Defendants DENY.
20     659.DENIED. This averment is overly broad and a legal conclusion and/or
21   argument and therefore does not require a response. To the extent that it requires a
22   response, Defendants DENY.
23     660.DENIED. This averment is overly broad and a legal conclusion and/or
24   argument and therefore does not require a response. To the extent that it requires a
25   response, Defendants DENY.
26     661.DENIED. This averment is overly broad and a legal conclusion and/or
27   argument and therefore does not require a response. To the extent that it requires a
28   response, Defendants DENY.

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 1     662.DENIED. This averment is overly broad and a legal conclusion and/or
 2   argument and therefore does not require a response. To the extent that it requires a
 3   response, Defendants DENY.
 4                         THIRTY-NINTH CAUSE OF ACTION
 5                               (Negligent Misrepresentation)
 6     663.Defendants are without knowledge or information sufficient to form a belief as
 7   to this averment, and therefore deny each and every allegation in Paragraph 663.
 8     664.Defendants are without knowledge or information sufficient to form a belief as
 9   to this averment, and therefore deny each and every allegation in Paragraph 664.
10     665.Defendants are without knowledge or information sufficient to form a belief as
11   to this averment, and therefore deny each and every allegation in Paragraph 665.
12     666.Defendants are without knowledge or information sufficient to form a belief as
13   to this averment, and therefore deny each and every allegation in Paragraph 666.
14     667.Defendants are without knowledge or information sufficient to form a belief as
15   to this averment, and therefore deny each and every allegation in Paragraph 667.
16     668.Defendants are without knowledge or information sufficient to form a belief as
17   to this averment, and therefore deny each and every allegation in Paragraph 668.
18     669.Defendants are without knowledge or information sufficient to form a belief as
19   to this averment, and therefore deny each and every allegation in Paragraph 669.
20                            FORTIETH CAUSE OF ACTION
21                               (Negligent Misrepresentation)
22     670.Defendants are without knowledge or information sufficient to form a belief as
23   to this averment, and therefore deny each and every allegation in Paragraph 670.
24     671.Defendants are without knowledge or information sufficient to form a belief as
25   to this averment, and therefore deny each and every allegation in Paragraph 671.
26     672.Defendants are without knowledge or information sufficient to form a belief as
27   to this averment, and therefore deny each and every allegation in Paragraph 672.
28   ///

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 1     673.Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 673.
 3     674.Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 674.
 5     675.Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 675.
 7     676.Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 676.
 9                         FORTY-FIRST CAUSE OF ACTION
10                                     (Legal Malpractice)
11     677. Defendants are without knowledge or information sufficient to form a belief as
12   to this averment, and therefore deny each and every allegation in Paragraph 677.
13     678. Defendants are without knowledge or information sufficient to form a belief as
14   to this averment, and therefore deny each and every allegation in Paragraph 678.
15     679. Defendants are without knowledge or information sufficient to form a belief as
16   to this averment, and therefore deny each and every allegation in Paragraph 679.
17     680. Defendants are without knowledge or information sufficient to form a belief as
18   to this averment, and therefore deny each and every allegation in Paragraph 680.
19                        FORTY-SECOND CAUSE OF ACTION
20                                 (Fraudulent Concealment)
21     681. Defendants are without knowledge or information sufficient to form a belief as
22   to this averment, and therefore deny each and every allegation in Paragraph 681.
23     682. Defendants are without knowledge or information sufficient to form a belief as
24   to this averment, and therefore deny each and every allegation in Paragraph 682.
25     683. Defendants are without knowledge or information sufficient to form a belief as
26   to this averment, and therefore deny each and every allegation in Paragraph 683.
27     684. Defendants are without knowledge or information sufficient to form a belief as
28   to this averment, and therefore deny each and every allegation in Paragraph 684.

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 1     685. Defendants are without knowledge or information sufficient to form a belief as
 2   to this averment, and therefore deny each and every allegation in Paragraph 685.
 3     686. Defendants are without knowledge or information sufficient to form a belief as
 4   to this averment, and therefore deny each and every allegation in Paragraph 686.
 5     687. Defendants are without knowledge or information sufficient to form a belief as
 6   to this averment, and therefore deny each and every allegation in Paragraph 687.
 7     688. Defendants are without knowledge or information sufficient to form a belief as
 8   to this averment, and therefore deny each and every allegation in Paragraph 688.
 9                          FORTY-THIRD CAUSE OF ACTION
10                                        (False Promise)
11     689. DENIED. This averment is overly broad and a legal conclusion and/or
12   argument and therefore does not require a response. To the extent that it requires a
13   response, Defendants DENY.
14     690. DENIED. This averment is overly broad and a legal conclusion and/or
15   argument and therefore does not require a response. To the extent that it requires a
16   response, Defendants DENY.
17     691. DENIED. This averment is overly broad and a legal conclusion and/or
18   argument and therefore does not require a response. To the extent that it requires a
19   response, Defendants DENY.
20     692. DENIED. This averment is overly broad and a legal conclusion and/or
21   argument and therefore does not require a response. To the extent that it requires a
22   response, Defendants DENY.
23     693. DENIED. This averment is overly broad and a legal conclusion and/or
24   argument and therefore does not require a response. To the extent that it requires a
25   response, Defendants DENY.
26     694. DENIED. This averment is overly broad and a legal conclusion and/or
27   argument and therefore does not require a response. To the extent that it requires a
28   response, Defendants DENY.

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 1     695. DENIED. This averment is overly broad and a legal conclusion and/or
 2   argument and therefore does not require a response. To the extent that it requires a
 3   response, Defendants DENY.
 4     696. DENIED. This averment is overly broad and a legal conclusion and/or
 5   argument and therefore does not require a response. To the extent that it requires a
 6   response, Defendants DENY.
 7                        FORTY-FOURTH CAUSE OF ACTION
 8                                         (Conversion)
 9     697. DENIED. This averment is overly broad and a legal conclusion and/or
10   argument and therefore does not require a response. To the extent that it requires a
11   response, Defendants DENY.
12     698. DENIED. This averment is overly broad and a legal conclusion and/or
13   argument and therefore does not require a response. To the extent that it requires a
14   response, Defendants DENY.
15     699. DENIED. This averment is overly broad and a legal conclusion and/or
16   argument and therefore does not require a response. To the extent that it requires a
17   response, Defendants DENY.
18     700. DENIED. This averment is overly broad and a legal conclusion and/or
19   argument and therefore does not require a response. To the extent that it requires a
20   response, Defendants DENY.
21     701. DENIED. This averment is overly broad and a legal conclusion and/or
22   argument and therefore does not require a response. To the extent that it requires a
23   response, Defendants DENY.
24                          FORTY-FIFTH CAUSE OF ACTION
25                               (Inducing Breach of Contract)
26     702. DENIED. This averment is overly broad and a legal conclusion and/or
27   argument and therefore does not require a response. To the extent that it requires a
28   response, Defendants DENY.

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 1     703. DENIED. This averment is overly broad and a legal conclusion and/or
 2   argument and therefore does not require a response. To the extent that it requires a
 3   response, Defendants DENY.
 4     704. DENIED. This averment is overly broad and a legal conclusion and/or
 5   argument and therefore does not require a response. To the extent that it requires a
 6   response, Defendants DENY.
 7     705. DENIED. This averment is overly broad and a legal conclusion and/or
 8   argument and therefore does not require a response. To the extent that it requires a
 9   response, Defendants DENY.
10     706. DENIED. This averment is overly broad and a legal conclusion and/or
11   argument and therefore does not require a response. To the extent that it requires a
12   response, Defendants DENY.
13     707. DENIED. This averment is overly broad and a legal conclusion and/or
14   argument and therefore does not require a response. To the extent that it requires a
15   response, Defendants DENY.
16     708. DENIED. This averment is overly broad and a legal conclusion and/or
17   argument and therefore does not require a response. To the extent that it requires a
18   response, Defendants DENY.
19     709. DENIED. This averment is overly broad and a legal conclusion and/or
20   argument and therefore does not require a response. To the extent that it requires a
21   response, Defendants DENY.
22                          FORTY-SIXTH CAUSE OF ACTION
23                    (Intentional Interference with Contractual Relations)
24     710. DENIED. This averment is overly broad and a legal conclusion and/or
25   argument and therefore does not require a response. To the extent that it requires a
26   response, Defendants DENY.
27

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 1     711. DENIED. This averment is overly broad and a legal conclusion and/or
 2   argument and therefore does not require a response. To the extent that it requires a
 3   response, Defendants DENY.
 4     712. DENIED. This averment is overly broad and a legal conclusion and/or
 5   argument and therefore does not require a response. To the extent that it requires a
 6   response, Defendants DENY.
 7     713. DENIED. This averment is overly broad and a legal conclusion and/or
 8   argument and therefore does not require a response. To the extent that it requires a
 9   response, Defendants DENY.
10     714. DENIED. This averment is overly broad and a legal conclusion and/or
11   argument and therefore does not require a response. To the extent that it requires a
12   response, Defendants DENY.
13     715. DENIED. This averment is overly broad and a legal conclusion and/or
14   argument and therefore does not require a response. To the extent that it requires a
15   response, Defendants DENY.
16     716. DENIED. This averment is overly broad and a legal conclusion and/or
17   argument and therefore does not require a response. To the extent that it requires a
18   response, Defendants DENY.
19     717. DENIED. This averment is overly broad and a legal conclusion and/or
20   argument and therefore does not require a response. To the extent that it requires a
21   response, Defendants DENY.
22     718. DENIED. This averment is overly broad and a legal conclusion and/or
23   argument and therefore does not require a response. To the extent that it requires a
24   response, Defendants DENY.
25   ///
26   ///
27   ///
28   ///

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 1                        FORTY-SEVENTH CAUSE OF ACTION
 2              (Intentional Interference with Prospective Economic Relations)
 3     719. DENIED. This averment is overly broad and a legal conclusion and/or
 4   argument and therefore does not require a response. To the extent that it requires a
 5   response, Defendants DENY.
 6     720. DENIED. This averment is overly broad and a legal conclusion and/or
 7   argument and therefore does not require a response. To the extent that it requires a
 8   response, Defendants DENY.
 9     721. DENIED. This averment is overly broad and a legal conclusion and/or
10   argument and therefore does not require a response. To the extent that it requires a
11   response, Defendants DENY.
12     722. DENIED. This averment is overly broad and a legal conclusion and/or
13   argument and therefore does not require a response. To the extent that it requires a
14   response, Defendants DENY.
15     723. DENIED. This averment is overly broad and a legal conclusion and/or
16   argument and therefore does not require a response. To the extent that it requires a
17   response, Defendants DENY.
18     724. DENIED. This averment is overly broad and a legal conclusion and/or
19   argument and therefore does not require a response. To the extent that it requires a
20   response, Defendants DENY.
21     725. DENIED. This averment is overly broad and a legal conclusion and/or
22   argument and therefore does not require a response. To the extent that it requires a
23   response, Defendants DENY.
24     726. DENIED. This averment is overly broad and a legal conclusion and/or
25   argument and therefore does not require a response. To the extent that it requires a
26   response, Defendants DENY.
27   ///

28   ///

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 1     727. DENIED. This averment is overly broad and a legal conclusion and/or
 2   argument and therefore does not require a response. To the extent that it requires a
 3   response, Defendants DENY.
 4                         FORTY-EIGHTH CAUSE OF ACTION
 5               (Negligent Interference with Prospective Economic Relations)
 6     728. DENIED. This averment is overly broad and a legal conclusion and/or
 7   argument and therefore does not require a response. To the extent that it requires a
 8   response, Defendants DENY.
 9     729. DENIED. This averment is overly broad and a legal conclusion and/or
10   argument and therefore does not require a response. To the extent that it requires a
11   response, Defendants DENY.
12     730. DENIED. This averment is overly broad and a legal conclusion and/or
13   argument and therefore does not require a response. To the extent that it requires a
14   response, Defendants DENY.
15     731. DENIED. This averment is overly broad and a legal conclusion and/or
16   argument and therefore does not require a response. To the extent that it requires a
17   response, Defendants DENY.
18     732. DENIED. This averment is overly broad and a legal conclusion and/or
19   argument and therefore does not require a response. To the extent that it requires a
20   response, Defendants DENY.
21     733. DENIED. This averment is overly broad and a legal conclusion and/or
22   argument and therefore does not require a response. To the extent that it requires a
23   response, Defendants DENY.
24     734. DENIED. This averment is overly broad and a legal conclusion and/or
25   argument and therefore does not require a response. To the extent that it requires a
26   response, Defendants DENY.
27   ///
28   ///

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 1     735. DENIED. This averment is overly broad and a legal conclusion and/or
 2   argument and therefore does not require a response. To the extent that it requires a
 3   response, Defendants DENY.
 4     736. DENIED. This averment is overly broad and a legal conclusion and/or
 5   argument and therefore does not require a response. To the extent that it requires a
 6   response, Defendants DENY.
 7     737. DENIED. This averment is overly broad and a legal conclusion and/or
 8   argument and therefore does not require a response. To the extent that it requires a
 9   response, Defendants DENY.
10                          FORTY-NINTH CAUSE OF ACTION
11                (Violations of Business & Professions Code §17200, et seq.)
12     738. DENIED. This averment is overly broad and a legal conclusion and/or
13   argument and therefore does not require a response. To the extent that it requires a
14   response, Defendants DENY.
15     739. DENIED. This averment is overly broad and a legal conclusion and/or
16   argument and therefore does not require a response. To the extent that it requires a
17   response, Defendants DENY.
18     740. DENIED. This averment is overly broad and a legal conclusion and/or
19   argument and therefore does not require a response. To the extent that it requires a
20   response, Defendants DENY.
21     741. DENIED. This averment is overly broad and a legal conclusion and/or
22   argument and therefore does not require a response. To the extent that it requires a
23   response, Defendants DENY.
24     742. DENIED. This averment is overly broad and a legal conclusion and/or
25   argument and therefore does not require a response. To the extent that it requires a
26   response, Defendants DENY.
27   ///
28   ///

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 1     743. DENIED. This averment is overly broad and a legal conclusion and/or
 2   argument and therefore does not require a response. To the extent that it requires a
 3   response, Defendants DENY.
 4     744. DENIED. This averment is overly broad and a legal conclusion and/or
 5   argument and therefore does not require a response. To the extent that it requires a
 6   response, Defendants DENY.
 7                            FIFTIETH CAUSE OF ACTION
 8                                         (Conspiracy)
 9     745. DENIED. This averment is overly broad and a legal conclusion and/or
10   argument and therefore does not require a response. To the extent that it requires a
11   response, Defendants DENY.
12     746. DENIED. This averment is overly broad and a legal conclusion and/or
13   argument and therefore does not require a response. To the extent that it requires a
14   response, Defendants DENY.
15     747. DENIED. This averment is overly broad and a legal conclusion and/or
16   argument and therefore does not require a response. To the extent that it requires a
17   response, Defendants DENY.
18     748. DENIED. This averment is overly broad and a legal conclusion and/or
19   argument and therefore does not require a response. To the extent that it requires a
20   response, Defendants DENY.
21     749. DENIED. This averment is overly broad and a legal conclusion and/or
22   argument and therefore does not require a response. To the extent that it requires a
23   response, Defendants DENY.
24                           FIFTY-FIRST CAUSE OF ACTION
25                                 (Breach of Fiduciary Duty)
26     750. DENIED. This averment is overly broad and a legal conclusion and/or
27   argument and therefore does not require a response. To the extent that it requires a
28   response, Defendants DENY.

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 1     751. DENIED. This averment is overly broad and a legal conclusion and/or
 2   argument and therefore does not require a response. To the extent that it requires a
 3   response, Defendants DENY.
 4     752. DENIED. This averment is overly broad and a legal conclusion and/or
 5   argument and therefore does not require a response. To the extent that it requires a
 6   response, Defendants DENY.
 7     753. DENIED. This averment is overly broad and a legal conclusion and/or
 8   argument and therefore does not require a response. To the extent that it requires a
 9   response, Defendants DENY.
10                         FIFTY-SECOND CAUSE OF ACTION
11                                    (Constructive Fraud)
12     754. DENIED. This averment is overly broad and a legal conclusion and/or
13   argument and therefore does not require a response. To the extent that it requires a
14   response, Defendants DENY.
15     755. DENIED. This averment is overly broad and a legal conclusion and/or
16   argument and therefore does not require a response. To the extent that it requires a
17   response, Defendants DENY.
18     756. DENIED. This averment is overly broad and a legal conclusion and/or
19   argument and therefore does not require a response. To the extent that it requires a
20   response, Defendants DENY.
21     757. DENIED. This averment is overly broad and a legal conclusion and/or
22   argument and therefore does not require a response. To the extent that it requires a
23   response, Defendants DENY.
24     758. DENIED. This averment is overly broad and a legal conclusion and/or
25   argument and therefore does not require a response. To the extent that it requires a
26   response, Defendants DENY.
27   ///
28   ///

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 1     759. DENIED. This averment is overly broad and a legal conclusion and/or
 2   argument and therefore does not require a response. To the extent that it requires a
 3   response, Defendants DENY.
 4     760. DENIED. This averment is overly broad and a legal conclusion and/or
 5   argument and therefore does not require a response. To the extent that it requires a
 6   response, Defendants DENY.
 7                            FIFTY-THIRD CAUSE OF ACTION
 8                                (Unjust Enrichment/Restitution)
 9     761.DENIED. This averment is overly broad and a legal conclusion and/or
10   argument and therefore does not require a response. To the extent that it requires a
11   response, Defendants DENY.
12     762.DENIED. This averment is overly broad and a legal conclusion and/or
13   argument and therefore does not require a response. To the extent that it requires a
14   response, Defendants DENY.
15     763. Any allegations of the complaint not specifically admitted above are hereby
16   denied.
17                                  AFFIRMATIVE DEFENSES
18                              FIRST AFFIRMATIVE DEFENSE
19     764.These answering Defendants are not legally responsible for the acts and/or
20   omission of the defendants named herein as DOES.
21                             SECOND AFFIRMATIVE DEFENSE
22     765. The Complaint and every purported cause of action therein fails to set forth facts
23   sufficient to state a cause of action.
24                              THIRD AFFIRMATIVE DEFENSE
25     766. That as against these answering Defendants, Plaintiff’s action is barred by the
26   applicable statutes of limitation, including but not limited to, California Code of Civil
27   Procedure §§ 335.1, 338, 339, 340(3), 340.5 and 340.6.
28   ///

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 1                           FOURTH AFFIRMATIVE DEFENSE
 2     767. That as against these answering Defendants, Plaintiff’s action is barred in
 3   whole or in part by the failure to name indispensable parties to the lawsuit.
 4                             FIFTH AFFIRMATIVE DEFENSE
 5     768. That as against these answering Defendants, Plaintiff’s action is barred by the
 6   provisions of sections 337 and/or 339 of the California Code of Civil Procedure.
 7                             SIXTH AFFIRMATIVE DEFENSE
 8     769. The Plaintiff has failed to exercise reasonable care and diligence to avoid loss
 9   and to minimize damages and, therefore, Plaintiff may not recover for losses which
10   could have been prevented by reasonable efforts on his own part, or by expenditures
11   that might reasonably have been made. Therefore, Plaintiff’s recovery, if any, should
12   be reduced by the failure of the Plaintiff’s to mitigate his damages.
13                           SEVENTH AFFIRMATIVE DEFENSE
14     770. That at all times and places set forth in the Complaint, these answering
15   Defendants were the agent or employee of a principal named or not named as a party
16   to this lawsuit. All of the acts alleged against these answering Defendants were
17   performed for the benefit of the principal. The doctrine of respondent superior makes
18   the principal liable for any and all damages claimed by the Plaintiff as a result of these
19   answering Defendants’ work. These answering Defendants are not responsible in full
20   or in part to satisfy the claim for damages in this Complaint.
21                            EIGHTH AFFIRMATIVE DEFENSE
22     771. These answering Defendants presently have insufficient knowledge or
23   information upon which to form a belief as to whether they may have additional, as
24   yet unknown, affirmative defenses. These answering Defendants reserve the right to
25   assert additional affirmative defenses in the event discovery indicates it would be
26   appropriate.
27   ///
28   ///

                                                   69
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 1                              NINTH AFFIRMATIVE DEFENSE
 2     772. These answering Defendants contend that there is no basis for liability to
 3   Plaintiff. Should these answering Defendants be found liable to Plaintiff on the
 4   Complaint herein, these answering Defendants should, in whole or in part, be
 5   indemnified by the other parties to this litigation, in whole or in part, to Plaintiff.
 6                             TENTH AFFIRMATIVE DEFENSE
 7     773. Plaintiff’s Complaint is improper in that not all heirs are joined in these
 8   actions.
 9                           ELEVENTH AFFIRMATIVE DEFENSE
10     774. Plaintiff is barred from pursuing any remedy against these answering
11   Defendants for breach of any warranty, express or implied, or for breach of any
12   contract, express or implied, or for any damage which is the subject of the Complaint,
13   because Plaintiff did not notify the answering Defendants within a reasonable time
14   after Plaintiff discovered, or reasonably should have discovered, the alleged breach.
15                           TWELFTH AFFIRMATIVE DEFENSE
16     775. This Plaintiff has engaged in conduct with respect to the activities and/or
17   property which are the subject of this Complaint, and by reason of said activities and
18   conduct, is estopped from asserting any claim or damage or seeking any other relief
19   against the answering Defendants.
20                         THIRTEENTH AFFIRMATIVE DEFENSE
21     776. The Plaintiff has engaged in conduct and activities sufficient to constitute a
22   waiver of any alleged breach of contract, negligence or any other conduct, if any, as
23   set forth in the Complaint.
24                         FOURTEENTH AFFIRMATIVE DEFENSE
25     777. Due to its tardiness in asserting its purported right to recover, Plaintiff’s claim
26   should be barred by the equitable doctrine of laches.
27   ///
28   ///

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 1                          FIFTEENTH AFFIRMATIVE DEFENSE
 2     778. By virtue of Plaintiff’s unlawful, immoral, careless, negligent and other
 3   wrongful conduct, Plaintiff should be barred from recovering from the answering
 4   Defendants by the equitable doctrine of unclean hands.
 5                        SIXTEENTH AFFIRMATIVE DEFENSE
 6     779. Defendants, having just begun their discovery process and not having
 7   sufficient time to discover all facts necessary to defend themselves, hereby, allege the
 8   following affirmative defenses, upon information and belief, per Rule 8, FRCP, so as
 9   not to waive them at this time: arbitration and award; assumption of risk; contributory
10   negligence; duress; estoppel; failure of consideration; fraud; illegality; injury by
11   fellow servant; license; payment; collateral estoppel; statute of frauds; and waiver.
12                      SEVENTEENTH AFFIRMATIVE DEFENSE
13     780. Defendants at no time, had any knowledge of any of the improper and/or
14   unlawful activities of other defendants alleged herein and, therefore, are not
15   responsible for any of the allegations pled against these Defendants.
16                       EIGHTEENTH AFFIRMATIVE DEFENSE
17     781. Defendants allege as an affirmative defense that Plaintiff, at no time, had the
18   right to rely on any of the improper and/or unlawful representations of other
19   defendants alleged herein and, therefore, are not responsible for any of the allegations
20   pled against these Defendants.
21                       NINETEENTH AFFIRMATIVE DEFENSE
22     782. Defendants allege as an affirmative defense, these Defendants, at no time, did
23   anything with regard patient care other than to provide clinical dental care and were
24   not in any way responsible or active in providing any billing services to anyone. Any
25   and all such billing responsibilities were provided by the clinics Defendants worked
26   for, and their employees, agents, and staff and Defendants are not responsible for any
27   acts of these persons/entities and had no knowledge of any alleged improprieties at
28   any time.

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                               DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                             PRAYER
 2         WHEREFORE, these answering defendants pray that Plaintiff take nothing by
 3   way of their Complaint on file herein, that judgment be entered in the within action in
 4   favor of these answering Defendants and against the Plaintiff upon the issues of the
 5   Complaint, together with an award to these Defendants of attorneys' fees and costs of
 6   suit herein incurred, and such other and further relief as the Court deems just.
 7

 8   Dated:    September 22, 2022              NEIL, DYMOTT, FRANK, McCABE &
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 9                                             A Professional Law Corporation
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11                                             By:      /S/ Robert W. Frank
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                               DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
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